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                              OFFICE OF SPECIAL EDUCATION
                   SPECIAL EDUCATION COMPLAINT INVESTIGATION REPORT

Complainant:                                             Case Number: 19-0189

K.B.
Public Agency:                                           COMPLAINT DECISION
Michigan Department of Education                                AND
Office of Special Education                                   PLAN FOR
Rebecca McIntyre, Supervisor                              CORRECTIVE ACTION
Program Accountability
608 West Allegan
PO Box 30008
Lansing, MI 48909

District:
Gary Start, District Superintendent
Kalamazoo Public Schools
1220 Howard St
Kalamazoo, MI 49008-1882

Case Manager:
Gina Alexander

Date of Decision:
November 8, 2019

On September 9, 2019, the Michigan Department of Education, Office of Special Education
(OSE) received a special education complaint filed by              (Complainant) on behalf
of            . The complaint alleged that the Kalamazoo Public Schools (District), which is
under the jurisdiction of the Michigan Department of Education (MDE), violated the
Individuals with Disabilities Education Act (IDEA).

Complaints may be filed by any individual or organization, in accordance with 34
300.153. The Complainant in this matter is a third party. A release of information from the
Student s parent was submitted; therefore, the OSE was able to communicate directly with
the third party during the investigation of this complaint.

Pursuant to the Code of Federal Regulations 34        300.151 through 300.153
implementing the IDEA, the OSE conducted an investigation into the allegations in this
complaint. Consistent with the IDEA and Federal Regulations, the MDE issues the following
Findings of Fact, Conclusions and Decision.




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Complaint Issues:
1. Whether the District provided the Student a free appropriate public education (FAPE)

   i.      Whether the District met its Child Find obligation to identify, locate and evaluate a

   ii.     Whether the District afforded the Student the procedural safeguards contained in
           the IDEA s discipline provisions for students not determined eligible for special


Investigatory Process:
Documents reviewed include:
   Original state complaint document; and
   Educational records submitted by the District.
The following provided information via an interview or questionnaire:
   Complainant (Advocate);
   Parent;
   General education teacher;
   Clinical social worker;
   Counselor;
   Principal;
   Administrator of student services; and
   Special education director.
The OSE provided the District and Complainant the opportunity to submit additional
information for consideration during the investigation of this complaint.

Applicable Federal Regulations or State Rules:
                       Child find
                       Initial evaluations
                       Protections for children not determined eligible for special education and
                       related services

Relevant Time Period:

violations that occurred not more than one year from the date the complaint was received.
In light of this limitation, the investigation will be limited to the period of time from
September 10, 2018 to September 9, 2019 for the purpose of determining if a violation of
the IDEA and/or the MARSE occurred. However, records beyond this timeframe may be
reviewed for the purpose of developing a complete record for the student.

Findings of Fact:
         The Student was enrolled in the District s alternative middle school as a 12-year-old
         seventh grader for the 2018 - 2019 school year and in the District s middle school, as a
         13-year-old eighth grader for the 2019 - 2020 school year. The Student was not
         eligible for special education services at the time of enrollment for either school year.
         District staff reported the Student was referred to the alternative middle school by staff
         from the Student s home school. The home school was a school in the District
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      Child Find efforts involving any student suspected of having a disability or having a
      disability who is in need for special education and related services. The consent for
      evaluation must be signed from the parent to proceed with conducting the evaluation.
      If staff members determine that an evaluation is not needed, then written support for
      refusing the evaluation must be made. Staff members need to notify a Student
      Services administrator if this occurs to review the written notice before it is sent to the
      parent/guardian.
      A written request for an evaluation, dated September 7, 2019, was provided to District
      staff by the Student s Parent. The request asked for the District to perform academic,
      emotional, cognitive and other health impairment evaluations.

Conclusions:
Issue 1i:
     "Child find" is the affirmative, ongoing obligation of states and local districts to identify,
     locate, and evaluate all children with disabilities residing within the jurisdiction who are

      Child find must include:
            Children who are suspected of being children with disabilities under 34 CFR

            grade; and

      The IDEA requires that a State (i.e., public agency) have in effect policies and
      procedures to ensure that the State (i.e., public agency) identifies, locates and
      evaluates all children with disabilities residing in the State, regardless of the severity of
      their disability, and who are in need of special education and related services. It is
      critical that this identification occur in a timely manner and that no procedures or
      practices result in delaying or denying this identification. Letter to State Directors of
      Special Education, (OSEP 2013).
      States and LEAs have an obligation to ensure that evaluations of children suspected of
      having a disability are not delayed or denied because of implementation of an RTI
      strategy. The use of RTI strategies cannot be used to delay or deny the provision of a
      full and individual evaluation. It would be inconsistent with the evaluation provision of
      the IDEA for an LEA to reject a referral and delay an initial evaluation on the basis that
      a child has not participated in an RTI framework. Memo to State Directors of Special
      Education, January 21, 2011 (OSEP).

      public agency may initiate a request for an initial evaluation to determine if the child is

      A district may not take a passive approach and wait for others to refer the student for
      special education services; the district must seek out IDEA-eligible students. Compton
      Unified Sch. Dist. v. Addison, (9th Cir. 2010), cert. denied, , 132 S. Ct. 996 (2012).
      Districts are responsible for conducting child find and identifying all IDEA-eligible
      students that reside in their jurisdiction. Because the child find obligation is an
      affirmative one, a parent is not required to request that a district identify and evaluate
      a child. Robertson County Sch. Sys. v. King, 99 F.3d 1139, 95-5526 (6th Cir. 1996,
      unpublished).
      According to the Sixth Circuit, a petitioner needs to prove that the school
      district"overlooked clear signs of disability" and were negligent in failing to order
      testing, or that there was "no rational justification for failing to evaluate." Bd. of Educ.

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      of Fayette County, Kentucky v. L.M., 47 IDELR 20122 (6th Cir. 2007), at para. 1, cert.
      denied, 110 LRP 48155, 128 S. Ct. 693 (2007) (citing Clay T. v. Walton County Sch.
      Dist., 952 F.Supp. 817, 823 (M.D.Ga.1997)).
      The Student was referred to the building's child study team in October 2018 and an
      intervention plan was developed. The child study team intervention plan indicated the
      Student had behavior concerns which impacted the Student s learning dating back to

      An update on the Student s intervention plan, dated On November 30, 2018, referenced
      the Parent wanted intensive services and a Vanderbilt Scale completed for the Student.
      The Vanderbilt is a psychological assessment tool utilized for attention deficit
      hyperactivity disorder symptoms and their effects on behavior and academic
      performance in children ages six to 12.
      In November 2018, a clinical social worker gained consent from the Parent to provide
      services to the Student. The Student received services three times in December 2018
      and twice in January 2019. The Student continued to be suspended throughout the
      remainder of the school year and reportedly received homebound services in May 2019,
      due to a code of conduct violation.
      Based on documentation provided by the District, the Student did not successfully meet
      the phase requirements of the alternative middle school. As of January 2019, the
      Student had not moved passed the orientation phase.
      Although the District did not receive a written request from the Parent to evaluate, this
      does not negate the District s ongoing Child Find obligations. The Student was placed in
      a short-term, tier-three behavior modification program at an alternative school as an
      intervention to address behavioral needs and was enrolled for over a year. During this
      intervention time, the Student s behaviors increased in frequency and intensity, as well
      as the Student s academic concerns persisted.
      Despite the District s attempts to provide multiple supports through interventions, the
      Student reportedly failed to respond to those interventions and continued to

     grades, which resulted in a lack of progress in the general education curriculum and
     ongoing behavioral concerns. The District had reason to suspect a disability and pursue
     an evaluation consistent with their Child Find obligation.
Issue 1ii:
     A child who has not been determined to be eligible for special education and related
     services under this part and who has engaged in behavior that violated a code of
     student conduct, may assert any of the protections provided for in this part if the public
     agency had knowledge (as determined in accordance with paragraph (b) of this section)
     that the child was a child with a disability before the behavior that precipitated the


      IDEA and MARSE if, it has been determined by a group of qualified professionals and
      the Parent of the student, that the student has a disability as defined under 300.8 and

      (c)(1) and 300.306(a)(1).
      As a learner with a disability eligible under the IDEA, a student is entitled to receive a
      FAPE according to an individualized education program (IEP), which includes discipline
      protections, special education, related services, and supplementary aids and services
      designed to meet the Student
      A public agency must be deemed to have knowledge that a child is a child with a
      disability if before the behavior that precipitated the disciplinary action occurred
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            The parent of the child expressed concern in writing to supervisory or
            administrative personnel of the appropriate educational agency, or a teacher of
            the child, that the child is in need of special education and related services;

            300.300 through 300.311; or
            The teacher of the child, or other personnel of the LEA, expressed specific
            concerns about a pattern of behavior demonstrated by the child directly to the
            director of special education of the agency or to other supervisory personnel of

      If the district does not have knowledge, no IDEA disciplinary protections are available
      and the district may discipline the student with a disability the same way it would
      discipline a non-disabled student for similar misconduct.
      According to the Office of Special Education and Rehabilitative Services (OSERS), If a
      child engages in behavior that violates the code of student conduct prior to a
      determination of his or her eligibility for special education and related services and the
      public agency is deemed to have knowledge of the child s disability, the child is entitled
      to all of the IDEA protections afforded to a child with a disability, unless a specific
      exception applies. In general, once the student is properly referred for an evaluation
      under Part B of the IDEA, the public agency would be deemed to have knowledge that
      the child is a child with a disability for purposes of the IDEA s disciplinary provision.
      OSERS, Questions and Answers on Discipline Procedures, (June 1, 2009).
      The Student was placed in a short-term, tier-three behavior modification program at an
      alternative middle school as an intervention to address behavioral needs and was
      enrolled for over a year. During this intervention time, the Student s behaviors
      increased in frequency and academic concerns persisted.
      The Parent did not express concerns in writing to District staff indicating a need for
      special education and related services or request an evaluation of the Student.
      The teacher of the Student or personnel from the District did not express concerns
      about the Student s repeated pattern of behavior to the director of special education or
      supervisory personnel in the District; however, a referral was made to the child study
      team and information indicated behavior concerns impacted the Student s academics.
      Although District staff did not express concerns regarding the Student to administrative
      staff, the standards regarding when to suspect a disability require reconsideration as
      there was originally enough information to initiate the child study team process and the
      identified interventions and supports provided to the Student were clearly not achieving
      the intended results.

      at the child study meeting held at the end of October 2018 upon reviewing the
      Student s cumulative record and after the Student reached ten cumulative days of
      suspension in November 2018, which triggered the need and request for a clinical social
      worker as an additional intervention.
      The District continued to suspend the Student throughout the remainder of the 2018
            school year. Attendance records provided by the District demonstrate 35
      cumulative days of removal; whereas the Michigan Student Data System demonstrates
      85 cumulative days due to behavior.
      During the 2018 - 2019 school year, the District had reason to suspect the Student
      may have a disability, as along with failing grades and a reported failure to respond to

      ten cumulative school days.
      The District did not provide the Student the procedural safeguards contained in the
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     IDEA s discipline provisions for students not determined eligible.
Overall FAPE:
     The IDEA requires that a State (i.e., public agency) have in effect policies and
     procedures to ensure that the State (i.e., public agency) identifies, locates and
     evaluates all children with disabilities residing in the State, regardless of the severity of
     their disability, and who are in need of special education and related services. It is
     critical that this identification occur in a timely manner and that no procedures or
     practices result in delaying or denying this identification. Letter to State Directors of

         The IDEA seeks to ensure that children with disabilities have access to a free
         appropriate public education which emphasizes special education and related services
         designed to meet their unique needs, [and] to assure that the rights of children with

         IDEA "provides federal funds to assist state and local educational agencies in educating
         children with disabilities, but conditions such funding on compliance with certain goals
         and procedures. One of those goals/procedures is the affirmative duty of the state (i.e.,
         the local educational agency) to assure that "all children residing in the State (i.e., local
         educational agency) who are disabled . . . and who are in need of special education and


         Cir., unpublished) (citing Wise v. Ohio Dept. of Educ., 80 F.3d 177, 181 (6th Cir.
         1996)).
         A FAPE means special education and related services that are provided in conformity

         Failing to meet Child Find requirements is a matter of serious concern that can deny
         FAPE to a student whom a district should have identified. This failure to identify may
         entitle the student to compensatory education or tuition reimbursement accruing
                                                                                 T.B. v. Prince
         George's County Bd. of Educ                                         Robertson County Sch.
         Sys. v. King, 95-5526, October 15, 1996 (6th Cir., unpublished); Lakin v. Birmingham
         Pub. Schs.                                                    Department of Educ. v. Cari
         Rae S.
         In reviewing the violations above regarding Child Find, the Student's lack of academic
         and behavior progress, even with interventions, affected the Student's substantive
         rights. The Student's learning and educational benefit was negatively impacted.
         If the Student is found eligible for special education services, the violation rises to a
         denial of a FAPE.

Decision:
1. Whether the District provided the Student a free appropriate public education (FAPE)

   i.      Whether the District met its Child Find obligation to identify, locate and evaluate a

   The District had reason to suspect the Student might be a student with a
   disability and in need of special education. The District did not meet their Child
   Find obligation. The MDE determines a violation.
   ii.     Whether the District afforded the Student the procedural safeguards contained in
           the IDEA s discipline provisions for students not determined eligible for special

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   The District did not afford the Student the procedural safeguards contained in
   the IDEA s discipline provisions for students not determined eligible for special
   education. The MDE determines a violation.

Student Level Corrective Action Plan:
If the District has not already done so, within 30 school days or no later than the dates
indicated below, the District must provide student level corrective action as follows:
      By January 15, 2020, consistent with the conclusions outlined in this final decision,
      conduct a review of existing evaluation data to:
            Review all relevant Student data from the Student s educational file, including
            input from the teacher and the Parent(s);
            Identify all of the Student s potential special education and related service needs;
            On the basis of the review, determine the evaluations that need to be conducted

             through 300.311, if any;
             If evaluations were identified, seek consent from the Parent to conduct the
             evaluation(s) as determined at the review of existing evaluation data; and
             Provide prior written notice to the Parent for the evaluation(s) or for a
             determination that no additional evaluations were needed, including the reasons
             for the determination.
      By January 15, 2020, consistent with the conclusions outlined in this final decision,
      conduct a full and individual initial evaluation that is sufficiently comprehensive and
      utilizes a variety of assessment tools and strategies to gather current relevant social-
      emotional, functional, developmental, and academic information about the Student,
      including information provided by the Parent, to identify all of the Student s special
      education and related service needs as outlined in the review of existing evaluation
      data after consent is provided by the Parent, in the following areas of need, as
      appropriate:
             Achievement, social/emotional/behavioral, adaptive skills, cognitive ability, and
             any other relevant areas of need; and
             A functional behavioral assessment and behavior intervention plan, as
             appropriate.
      By January 15, 2020, conduct a multidisciplinary evaluation team meeting to make a
      recommendation to the IEP team regarding eligibility, and if eligible, identify the
      educational needs of the Student consistent with the MARSE and the IDEA
      requirements.
      By January 15, 2020, conduct an IEP team meeting to determine eligibility. If eligible,
      develop an IEP that includes:
             A present level statement that accurately reflects the Student s academic
             achievement and functional performance, including how the Student s disability
             affects the Student s involvement and progress in the general education
             curriculum.
             Measurable annual goals and short-term objectives designed to meet the
             Student s needs that result from the disability to enable the Student to be
             involved in and make progress in the general education curriculum. The
             goals/objectives must contain the following components:
                   Baseline data;
                   Time frame or date;

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                  Skill(s) or a set of skills that can be counted or observed (skill/behavior);
                  A measurement or assessment strategy (measurement/conditions); and
                  Level of attainment to show mastery (accuracy rate/criteria).
            Identification of the special education and related services and supplementary
            aids and services to be provided to the Student.
            A clear description of the frequency, location and duration of the supplementary
            aids and services.
      If the Student is found eligible, by January 22, 2020, in collaboration with the Parent
      and the members of the IEP team, the District must develop a plan for providing a total
                                                                       s social-

      the Student s academic needs and seven hours to address social-emotional/behavioral
      needs. Services provided are to be in addition to the regular school day and the
      requirements of the current IEP. The plan could include participation in supervised
      group programs and/or activities with same age peers that provide the Student with
      the opportunity to work on social-emotional/behavioral and/or academic skills. Services
      must be delivered no later than September 1, 2020.

Evidence of the compensatory services ordered in the student level corrective action plan
will be reviewed during the district corrective action verification process. See below for
compensatory education requirements.

Corrective Action Plan:
The district must revise or develop procedures regarding child find, as needed, by June 15,
2020 to document and ensure that:
     The District fulfills its ongoing Child Find obligation to identify, locate and evaluate
     students who are suspected of having a disability and in need of special education
     services.


The district must revise or develop procedures regarding discipline, as needed, by June 15,
2020 to document and ensure that:
     The District affords students the procedural safeguards contained in the IDEA s
     discipline provisions for students not determined eligible for special education.


The district must provide professional development by June 15, 2020 for all relevant staff
regarding the new procedures.

Evidence of change in the district's practices must be provided and verified by the OSE.

The ISD must upload evidence of the implementation of the compensatory services plan into
the technical assistance notes in the district's corrective action plan to be reviewed during
the verification process. Documentation must include:
      Services must be delivered outside the regular school day.
      A copy of the receipt(s) for services provided if a contractor is used.
      Service provider logs for the compensatory services indicating the dates, starting and




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      ending times, length of sessions, student absences, make up sessions and a short
      summary of instruction completed for each session by upload into Catamaran.
      If the Student is absent on a scheduled day, this session does not need to be made up.
      Any staff absences require a make-up session.
      Transportation logs or reimbursement receipts (if applicable).

Evidence of timely compliance and required submissions for Corrective Action Plans and
Student Level Corrective Action Plans must be documented in Catamaran. Please direct
questions regarding the complaint investigation to Rebecca McIntyre at (517) 335-0457 or
mcintyrer1@michigan.gov, and any questions regarding the student level corrective action
to Gina Alexander at (517) 241-7107 or alexanderg5@michigan.gov. All correspondence
should be clearly marked as pertaining to case 19-0189.

Rebecca McIntyre, Supervisor
Program Accountability
Office of Special Education

cc:    H.B.
       Reuquiyah Saunders
       Mindy Miller
       David Campbell
       Tori Wentela
       Jordan M. Bullinger




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